Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.1 Page 1 of 21




                                                            May 03 2023

                                                             s/ gloriavocal




                                               '23CV0814 RSH DDL
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.2 Page 2 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.3 Page 3 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.4 Page 4 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.5 Page 5 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.6 Page 6 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.7 Page 7 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.8 Page 8 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.9 Page 9 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.10 Page 10 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.11 Page 11 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.12 Page 12 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.13 Page 13 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.14 Page 14 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.15 Page 15 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.16 Page 16 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.17 Page 17 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.18 Page 18 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.19 Page 19 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.20 Page 20 of 21
Case 3:23-cv-00814-RSH-VET Document 1 Filed 05/03/23 PageID.21 Page 21 of 21
